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1    THOMAS A. JOHNSON, #119203
     KRISTY M. KELLOGG, #271250
2    Law Office of Thomas A. Johnson
     400 Capitol Mall, Suite 1620
3
     Sacramento, California 95814
4    Telephone: (916) 422-4022
     Attorneys for Matthew Gillum
5
6
                          IN THE UNITED STATES DISTRICT COURT
7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,                   )   Case No. 2:13-cr-00393-MCE
10                                               )
                   Plaintiff,                    )
11                                               )   STIPULATION AND ORDER FOR
            vs.                                  )   CONTINUANCE OF JUDGMENT AND
12                                               )   SENTENCING
     MATTHEW GILLUM,                             )
13                                               )
                   Defendant                     )
14                                               )
15
16          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for January 29, 2015, at 9:00 a.m. is continued to
18   February 19, 2015, at 9:00 a.m. in the same courtroom. Probation has also been
19   informed of the continuance request. Defense counsel anticipates he will be in a jury trial
20   on January 29, 2015, and will be unavailable. Additionally, Defendant needs additional
21   time to prepare for sentencing and requested a continuance. Justin Lee, Assistant United
22   States Attorney, and Thomas A. Johnson, Defendant’s attorney, agree to this continuance.
23
24   IT IS SO STIPULATED.
25
     DATED: January 12, 2015                          By:    /s/ Thomas A. Johnson
26                                                           THOMAS A. JOHNSON
                                                             Attorney for Matthew Gillum
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     DATED: January 12, 2015                         BENJAMIN B. WAGNER
1                                                    United States Attorney
2                                              By:    /s/ Thomas A. Johnson for
                                                     JUSTIN LEE
3                                                    Assistant United States Attorney
4    IT IS SO ORDERED.
5
6    Dated: January 13, 2015
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1                          IN THE UNITED STATES DISTRICT COURT
2                          FOR THE EASTERN DISTRICT OF CALIFORNIA
3
     UNITED STATES OF AMERICA,                      )   Case No. 2:13-cr-00393-MCE
4                                                   )
                    Plaintiff,                      )
5                                                   )   MODIFICATION OF SCHEDULE FOR
            vs.                                     )   PRE-SENTENCE REPORT AND FOR
6                                                   )   FILING OF OBJECTIONS TO THE PRE-
     MATTHEW GILLUM,                                )   SENTENCE REPORT
7
                                                    )
8                   Defendant                       )
                                                    )
9
10   Judgment and Sentencing date:                             February 19, 2015
11
     Reply or Statement                                        February 12, 2015
12
     Motion for Correction of the Pre-Sentence
13   Report shall be filed with the court and                  February 5, 2015
14   served on the Probation Officer and opposing
     counsel no later than:
15
     The Pre-Sentence Report shall be filed with
16   the court and disclosed to counsel no later               January 29, 2015      __
17   than:

18   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                 January 22, 2015
19
     Probation Officer and opposing counsel
20   no later than:

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